 Case 2:19-cv-01412-FMO-RAO Document 26 Filed 05/15/19 Page 1 of 2 Page ID #:94

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Pro Se
                                     UNITED STATES DISTRICT COURT                         ~                             DEFu ~y j
                                    CENTRAL DISTRICT OF CALIFORNIA
Securities and Exchange Commission                           CASE NUMBER

                                                                            2:19-cv-01412-FMO-RAO
                                              PLAINTIFFS)
                             v.
Daniel R. Adams                                                        APPLICATION FOR PERMISSION
                                                                          FOR ELECTRONIC FILING



 As the (Plaintiff/Defendant)        Defendant         in the above-captioned matter,I respectfully ask the Court
 for permission to participate in electronic filing ("e-filing") in this case. I hereby affirm that:
 1. I have reviewed Local Rule 5-4.1.1 and the instructions available at the Pro Se E-Filing webpage located
    on the Court's website.
 2. I understand that once I register for e-filing, I will receive notices and documents only by e-mail in this
    case and not by U.S. mail.
 3. I understand that if my use of the CM/ECF system is unsatisfactory, my e-filing privileges maybe revoked
    and I will be required to file documents in paper, but will continue to receive documents via e-mail.

 4. I understand that I may not e-file on behalfof any other person in this or any other case.

 5. I have regular access to the technical requirements necessary to e-file successfully:
     Check all that apply.
          A Computer with Internet access.

          An e-mail account on a daily basis to receive notifications from the Court and notices from the
          e-filing system.

          A scanner to convert documents that are only in paper format into electronic files.

          A printer or copier to create required paper copies such as chambers copies.

          A word-processing program to create documents; and

          A PDF reader and a PDF writer to convert word processing documents into PDF format,the only
          electronic format in which documents can be e-filed.

Date: May 8,2019                                       Signature:

CV-005(12/15)                     APPLICATION FOR PERMISSION FOR ELECTRONIC CASE FILING
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